Case 1:11-cv-01787-MSK-MJW Document 102-1 Filed 10/10/14 USDC Colorado Page 1 of 1
                                                                                                                                                 EXHIBIT A
                              SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                 FOR THE PERIOD BEGINNING:                      August 1, 2014                                  AND ENDING :             August 31, 2014

     Name of Oeblor: TRILLION PARTNERS, INC.                                                                    Case Numbe r:            11-cv-01787-MSK-MJW

                                                                                                                    CURRENT
                                                                                                                     MONTH

     1. FUNDS AT BEGINNING OF PERIOD                                                                                       161 ,404.52   (al
     1. RECEIPTS:
      A. Cuslomer Colleclions al Tril ion
      B. Cuslomer Colleclions in Lockbox
      C. Received from Secured Lenders
      D. Olher Receipls

     2. TOTAL RECEIPTS

      TOTAL FUNDS AVAILABLE FOR
          OPERATIONS                                                                                                       161,404.52

     3. DISBURSEMENTS
      A    Advertising
      B    Bank /Credil Card Charges                                                                                           143.20
      C    Conlracl Labor
      0    Fixed Assel Paymenls
      E    Insurance
      F    lnvenlory Paymenls
      G    Leases
      H    Clrculs
       I   Ot!ice Supplies
       J   Payroll- Nel
      K    Professional Fees
      K1          Alvarez & Marsal
      K2          McElroy, Oeulsch, Mulvaney & Carpenler
      K3          Horowwilz & Burnell, P.C.
      K4          Wiley Rein
      K5          Greg Vogl
      K6          Ford & Harrison
      K7          Real Eslale Tax Consullanls
      K8          Wlnslead P.C.
      K9          Grim shaw & Haring
     K10          Ewell, Bickham , Brown & Rabb L
     K11          Smilh,A ngderson,Biouni,Dorsell
     K 12         Cariann e Weslon
     K 13         Madison Sproul Partners
     K14          Alvarez & Marsal Taxand, LLC
     K15          B rown Rudnick
     K1 6         Lerm an Senler
     K17          Burr & Foreman
       L   Renl
      M    Repairs & Mainlenance
      N    Secure d Credilor Paymenls
      0    Taxe s Paid - Payrol
       P   Taxes Paid - Sales & Use
       Q   Taxes Paid - Olher
      R    Telephone
       S   Travel & Enlertainm enl
       T   Ullllles
      U    Vehicle Expenses
      U1   Bear Reimbursem enls
      U2   Payroll Conlribulions
      U3   Transfer lo Escrow Accounl on behalf of Secured Credllors
      U4   Olsbursemenl from V eclra Bank lo Trillion
      U5 Dlsburseme nl from US Bank lo Veclra
       V   Olher Operaling Expenses                                                                                          9,205.22
      W    Transfer lo Receivership Weallh Managemenl Accounl
       X   Transferlo TX Communicalions
     Exce ss prior monlhs checks cleared ov er currenl monlh ch ecks uncleare d
     4. TOTAL DISBURSEMENTS (Sum of 3A thru VI                                                                               9,348.42
     5. NET CASH FLOW FOR PERIOD                                                                                            (9,348.421
     7. ENDING BALANCE         (line 4 Minus Line 6)                                                                       152,0 56.10 (c)
                                                                               Check


      1declare under penalty o r perjury that this statement and the accompanying documents and reports are true
      and correctto the best of my knowledge and belief.

      This 101h day of Oclober, 2014 .                                                                          s/Byron P. Smyt
                                                                                                                                          (Sign alurel

      (a ) This number is carried forward from lasl monlh's report . For lhe firsl report only, lhis numb er will be lhe
           balance as oflhe receivership dale.
      ( b ) This figure will nol change from monlh lo monlh. II is always lhe amounl of funds on hand as oflhe dale of
           lhe receivership
      (c) These lwo amounls will always be lhe same ifform Is compleled correclly.



                                                                               MOR-16
